                  Case 23-10852-KBO               Doc 661       Filed 10/30/23         Page 1 of 7




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

Legacy IMBDS, Inc., et al.,1                                             Case No. 23-10852 (KBO)

                                               Debtors.                  (Jointly Administered)



    AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
     NOVEMBER 1, 2023 AT 9:30 A.M. (EASTERN TIME) BEFORE THE HONORABLE
      KAREN B. OWENS IN THE U.S. BANKRUPTCY COURT, 824 NORTH MARKET
       STREET, 6TH FLOOR, COURTROOM 3, WILMINGTON, DELAWARE 19801

                         PLEASE NOTE: THE HEARING WILL BEGIN AT
                                 9:30 A.M. EASTERN TIME.


      This hearing will be conducted in person. All parties, including witnesses, are expected to
       attend in person unless permitted to appear via Zoom. Participation at the in-person court
    proceeding using Zoom is allowed only in the following circumstances: (i) counsel for a party
    or a pro se litigant files a responsive pleading and intends to make only a limited argument; (ii)
        a party or a representative of a party is interested in observing the hearing; (iii) a party is
     proceeding in a claims allowance dispute on a pro se basis; (iv) an individual has a good faith
    health-related reason to participate remotely and has obtained permission from chambers to do
         so; or (v) other extenuating circumstances that warrant remote participation as may be
                                          determined by the Court.


            If appearance via Zoom is permitted, please use the following link to register for
    this hearing to appear via Zoom. All individuals participating by video must register at
    least two (2) hours prior to the hearing. After registering your appearance by Zoom, you
    will receive a confirmation email containing information about joining the hearing.



1
      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
      number are: ValueVision Media Acquisitions, Inc. (8670); Legacy IMBDS, Inc. (3770); ValueVision Interactive,
      Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
      (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
      FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
      Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.

2
      The agenda has been amended to reflect the new start time of the hearing. Additional amended items
      appear in bold.


DOCS_DE:245518.2 40543/001
                Case 23-10852-KBO        Doc 661     Filed 10/30/23     Page 2 of 7




     https://debuscourts.zoomgov.com/meeting/register/vJIsde6rpzsvHzNz0ldfK_9l_LntrVsxtio

                 Topic: Legacy IMBDS, Inc., et al. – Case No. 23-10852 (KBO)
                When: November 1, 2023 at 11:30 a.m. (Prevailing Eastern Time)

                  You must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.
                         CourtCall will NOT be used for this hearing.


RESOLVED MATTERS

1.       Final Fee Application of Lincoln Partners Advisors LLC for Payment of Compensation for
         Services Rendered and Reimbursement of Expenses Incurred as Investment Banker for the
         Debtors for the Period from June 28, 2023 through August 31, 2023 [Filed: 9/7/23] (Docket
         No. 519).

         Response Deadline: September 28, 2023 at 4:00 p.m. Eastern Time. Extended for the
         Official Committee of Unsecured Creditors (the “Committee”).

         Responses Received: Informal comments from the Committee.

         Related Documents:

         a) Re-Notice of Hearing on Final Fee Application of Lincoln Partners Advisors LLC for
            Payment of Compensation for Services Rendered and Reimbursement of Expenses
            Incurred as Investment Banker for the Debtors for the Period from June 28, 2023
            through August 31, 2023 [Filed: 10/12/23] (Docket No. 599).

         b) Certification of Counsel Submitting Revised Order on Final Fee Application of
            Lincoln Partners Advisors LLC for Payment of Compensation for Services Rendered
            and Reimbursement of Expenses Incurred as Investment Banker for the Debtors for
            the Period from June 28, 2023 through August 31, 2023 [Filed: 10/20/23] (Docket
            No. 630).

         c) [Signed] Order Approving Final Fee Application of Lincoln Partners Advisors LLC
            for Payment of Compensation for Services Rendered and Reimbursement of
            Expenses Incurred as Investment Banker for the Debtors for the Period from June 28,
            2023 through August 31, 2023 [Filed: 10/23/23] (Docket No. 631).

         Status: The order has been entered. No hearing is necessary.




DOCS_DE:245518.2 40543/001                       2
                Case 23-10852-KBO       Doc 661     Filed 10/30/23    Page 3 of 7




ADJOURNED MATTERS

2.      C&B IPCO Admin Expense Request – Request for Allowance and Payment of
        Administrative Expense Claim of C&B IPCO, LLC [Filed: 10/13/23] (Docket No. 610).

        Response Deadline: October 25, 2023 at 4:00 p.m. (Eastern Time). Adjourned to a date
        and time to be determined.

        Responses Received:

        a) DirecTV, LLC’s Statement and Reservation of Rights Regarding Administrative
           Expenses Incurred in Chapter 11 Cases [Filed: 10/25/23] (Docket No. 643).

        Related Documents: None as of the date hereof.

        Status: This matter has been adjourned to a date and time to be determined.

3.      C&B Newco Admin Expense Request – Request for Allowance and Payment of
        Administrative Expense Claim of C&B Newco, LLC [Filed: 10/13/23] (Docket No. 611).

        Response Deadline: October 25, 2023 at 4:00 p.m. (Eastern Time). Adjourned to a date
        and time to be determined.

        Responses Received:

        a) DirecTV, LLC’s Statement and Reservation of Rights Regarding Administrative
           Expenses Incurred in Chapter 11 Cases [Filed: 10/25/23] (Docket No. 643).

        Related Documents: None as of the date hereof.

        Status: This matter has been adjourned to a date and time to be determined.

MATTERS FOR WHICH CNOS/COCS HAVE BEEN FILED

4.      Sidley Retention Application – Debtors’ Application for Entry of an Order Authorizing
        the Retention and Employment of Sidley Austin LLP as Attorneys for the Board of
        Directors of Legacy IMBDS, Inc. Effective as of the Petition Date [Filed: 10/11/23]
        (Docket No. 592).

        Response Deadline: October 25, 2023 at 4:00 p.m. (Eastern Time). Extended to October
        26, 2023 for the Office of the United States Trustee.

        Responses Received: None as of the date hereof.

        Related Documents:

        a) Supplemental Declaration of Thomas R. Califano in Support of the Application for
           Entry of an Order Authorizing the Retention and Employment of Sidley Austin LLP as



DOCS_DE:245518.2 40543/001                      3
                Case 23-10852-KBO        Doc 661      Filed 10/30/23    Page 4 of 7




             Attorneys for the Board of Directors of Legacy IMBDS, Inc. Effective as of the Petition
             Date [Filed: 10/27/23] (Docket No. 657).

        b) Certification of Counsel Regarding Debtors’ Application for Entry of an Order
           Authorizing the Retention and Employment of Sidley Austin LLP as Attorneys for the
           Board of Directors of Legacy IMBDS, Inc. Effective as of the Petition Date [Filed:
           10/27/23] (Docket No. 658).

        Status: At the Court’s direction, this matter will go forward.

5.      Exclusivity Extension Motion – Motion of the Debtors Pursuant to 11 U.S.C. § 1121(d)
        for Entry of an Order Extending Exclusive Periods [Filed: 10/12/23] (Docket No. 594).

        Response Deadline: October 26, 2023 at 4:00 p.m. (Eastern Time).

        Responses Received: None.

        Related Documents:

        a) Certification of No Objection Regarding Motion of the Debtors Pursuant to 11 U.S.C.
           § 1121(d) for Entry of an Order Extending Exclusive Periods [Filed: 10/27/23] (Docket
           No. 652).

        Status: A certification of no objection has been filed. The Debtors request entry of the
        order attached to the certification of no objection. No hearing will be necessary unless
        the Court has any questions.

MATTERS GOING FORWARD

6.      Conditional DS Approval Motion – Debtors’ Motion for Entry of an Order (I) Granting
        Interim Approval of the Adequacy of Disclosures in the Combined Plan and Disclosure
        Statement; (II) Scheduling a Combined Confirmation Hearing and Setting Deadlines
        Related Thereto; (III) Approving Solicitation Packages and Procedures; (IV) Approving
        the Forms of Ballots; and (V) Granting Related Relief [Filed: 10/10/23] (Docket No. 587).

        Response Deadline: October 25, 2023 at 4:00 p.m. (Eastern Time).

        Responses Received:

        a) United States Trustee’s Objection to Debtors’ Motion for Entry of an Order (I) Granting
           Interim Approval of the Adequacy of Disclosures in the Combined Plan and Disclosure
           Statement; (II) Scheduling a Combined Confirmation Hearing and Setting Deadlines
           Related Thereto; (III) Approving Solicitation Packages and Procedures; (IV)
           Approving the Forms of Ballots; and (V) Granting Related Relief [Filed: 10/25/23]
           (Docket No. 637).

        b) DirecTV, LLC’s Limited Objection to Debtors’ Motion for Entry of an Order (I)
           Granting Interim Approval of the Adequacy of Disclosures in the Combined Plan and


DOCS_DE:245518.2 40543/001                        4
                   Case 23-10852-KBO      Doc 661     Filed 10/30/23   Page 5 of 7




             Disclosure Statement; (II) Scheduling a Combined Confirmation Hearing and Setting
             Deadlines Related Thereto; (III) Approving Solicitation Packages and Procedures; (IV)
             Approving the Forms of Ballots; and (V) Granting Related Relief [Filed: 10/25/23]
             (Docket No. 641).

              i.     DirecTV, LLC’s Statement and Reservation of Rights Regarding Administrative
                     Expenses Incurred in Chapter 11 Cases [Filed: 10/25/23] (Docket No. 643).

        c) Reservation of Rights of the Official Committee of Unsecured Creditors with Respect
           to the Combined Joint Chapter 11 Plan of Liquidation and Disclosure Statement of
           Legacy IMBDS, Inc., and Its Debtor Affiliates [Filed: 10/27/23] (Docket No. 650).

        Replies Filed:

        a) Debtors’ Omnibus Reply to Objections to the Debtors’ Motion for Entry of an Order
           (I) Granting Interim Approval of the Adequacy of Disclosures in the Combined Plan
           and Disclosure Statement; (II) Scheduling a Combined Confirmation Hearing and
           Setting Deadlines Related Thereto; (III) Approving Solicitation Packages and
           Procedures; (IV) Approving the Forms of Ballots; and (V) Granting Related Relief
           [Filed: 10/27/23] (Docket No. 654).

        Related Documents:

        a) Combined Joint Chapter 11 Plan of Liquidation and Disclosure Statement of Legacy
           IMBDS, Inc., and Its Debtor Affiliates [Filed: 10/10/23] (Docket No. 586).

        b) [REVISED] Combined Joint Chapter 11 Plan of Liquidation and Disclosure Statement
           of Legacy IMBDS, Inc., and Its Debtor Affiliates [Filed: 10/27/23] (Docket No. 655).

        c) Notice of Filing of Blackline of Revised Combined Joint Chapter 11 Plan of
           Liquidation and Disclosure Statement of Legacy IMBDS, Inc., and Its Debtor Affiliates
           [Filed: 10/27/23] (Docket No. 656).

        Status: This matter will go forward.

7.      Comcast Motion to Compel – Motion of Comcast Cable Communications, LLC (A) to
        Compel Payment of Postpetition Amounts Owed Under the Affiliation Agreement, (B) to
        Enforce the Sale Order and APA, (C) to Compel Immediate Assumption or Rejection of
        the Affiliation Agreement, and (D) for Relief from the Automatic Stay to Permit Comcast
        to Exercise Its Rights and Remedies Under the Affiliation Agreement, Including
        Termination of the Affiliation Agreement [Filed: 10/18/23] (Docket No. 624).

        Response Deadline: October 25, 2023 at 4:00 p.m. (Eastern Time).




DOCS_DE:245518.2 40543/001                        5
                   Case 23-10852-KBO      Doc 661     Filed 10/30/23   Page 6 of 7




        Responses Received:

        a) Debtors’ Limited Objection to the Motion of Comcast Cable Communications, LLC
           (A) to Compel Payment of Postpetition Amounts Owed Under the Affiliation
           Agreement, (B) to Enforce the Sale Order and APA, (C) to Compel Immediate
           Assumption or Rejection of the Affiliation Agreement, and (D) for Relief from the
           Automatic Stay to Permit Comcast to Exercise Its Rights and Remedies Under the
           Affiliation Agreement, Including Termination of the Affiliation Agreement [Filed:
           10/25/23] (Docket No. 638).

        b) Joinder of the Official Committee of Unsecured Creditors to Debtors’ Limited
           Objection to the Motion of Comcast Cable Communications, LLC (A) to Compel
           Payment of Postpetition Amounts Owed Under the Affiliation Agreement, (B) to
           Enforce the Sale Order and APA, (C) to Compel Immediate Assumption or Rejection
           of the Affiliation Agreement, and (D) for Relief from the Automatic Stay to Permit
           Comcast to Exercise Its Rights and Remedies Under the Affiliation Agreement,
           Including Termination of the Affiliation Agreement [Filed: 10/25/23] (Docket No.
           640).

        c) DirecTV, LLC’s Limited Objection to Debtors’ Motion for Entry of an Order (I)
           Granting Interim Approval of the Adequacy of Disclosures in the Combined Plan and
           Disclosure Statement; (II) Scheduling a Combined Confirmation Hearing and Setting
           Deadlines Related Thereto; (III) Approving Solicitation Packages and Procedures; (IV)
           Approving the Forms of Ballots; and (V) Granting Related Relief [Filed: 10/25/23]
           (Docket No. 641).

              i.     DirecTV, LLC’s Statement and Reservation of Rights Regarding Administrative
                     Expenses Incurred in Chapter 11 Cases [Filed: 10/25/23] (Docket No. 643).

        d) [SEALED] Objection of IV Media, LLC to Motion of Comcast Cable
           Communications, LLC (A) to Compel Payment of Postpetition Amounts Owed Under
           the Affiliation Agreement, (B) to Enforce the Sale Order and APA, (C) to Compel
           Immediate Assumption or Rejection of the Affiliation Agreement, and (D) for Relief
           from the Automatic Stay to Permit Comcast to Exercise Its Rights and Remedies Under
           the Affiliation Agreement, Including Termination of the Affiliation Agreement [Filed:
           10/25/23] (Docket No. 642).

        Replies Filed:

        a) [SEALED] Reply of Comcast Cable Communications, LLC in Support of Motion (A)
           to Compel Payment of Postpetition Amounts Owed Under the Affiliation Agreement,
           (B) to Enforce the Sale Order and APA, (C) to Compel Immediate Assumption or
           Rejection of the Affiliation Agreement and (D) for Relief from the Automatic Stay to
           Permit Comcast to Exercise Its Rights and Remedies Under the Affiliation Agreement,
           Including Termination of the Affiliation Agreement [Filed: 10/27/23] (Docket No.
           653).




DOCS_DE:245518.2 40543/001                        6
                Case 23-10852-KBO       Doc 661    Filed 10/30/23    Page 7 of 7




        Related Documents: None as of the date hereof.

        Status: This matter will go forward.


Dated: October 30, 2023                PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
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DOCS_DE:245518.2 40543/001                     7
